Case 1:17-cV-01112-.]CH-KBI\/| Document 1 Filed 11/08/17 Page 1 of 10

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

SHARIF A. and SAMIA RABADI,
Plaintiffs,
v.

D R HORTON, INC.,
a De|aware Corporation,

Defendant.

NOTICE OF REMOVAL

 

COME NOW Defendant D. R. Horton, Inc., by and through counsel,
Calvert Menicucci, P.C. (Sean R. Calvert), and hereby remove Sharif A. and
Sam/'a Rabadi v. D. R. Horton, Inc., Cause No. D-202-CV-2017-O7198 from
the Second Judicial District Court, to the United States District Court for the
District of New Mexico pursuant to 28 U.S.C. §§1332, 1441 and 1446, and

as grounds for its removal, state as follows:

STATEMENT OF THE CASE

1. On October 10, 2017, Sharif A. and Samia Rabadi (“Rabadi”)
filed a Comp|aint in the Second Judicial District for the State of New Mexico
styled (“State Court Action").

2. On July 22, 2013, Rat)adi filed their First Amended Complaint for
Breach of Contract. A copy of the First Amended Complaint of Contract is
attached hereto as Exhibit A.

3. The First Amended Comp|aint asserts C|aims against D. R.

Horton, Inc. for: 1) Promissory Estoppel; 2) Unfair Business Practice; 3)

 

 

Case 1:17-cv-01112-.]CH-KBl\/l Document 1 Filed 11/08/17 Page 2 of 10

Breach of Implied Covenant of Good Faith and Fair Dealing; and 4) Loss of
l\/larl<et Value.

4. The relief that Rabadi seeks includes damages in the amount of
at least $240,000 on Count One, plus at least $96,000 on Count Four plus
incidental and consequential damages, pre- and post judgment interest, and

costs of suit in an unknown amount.

COMPLETE DIVERSITY OF CITIZENSHIP EXISTS

5. This Court has jurisdiction over this matter under 28 U.S.C.
§ 1332(a) because there is a complete diversity of citizenship between
Rabadi and D. R. Horton, Inc., and more than $75,000, exclusive of interest
and costs, is at stake.

6. Plaintiff alleges that they are residents of Bernalillo County, New
Mexico. First Amended Comp/aint, ll 1.

7. D. R. Horton, Inc. is, and was at the time of the institution of the
State Court Action, a corporation organized and existing under and by virtue
of the laws of the State of De|aware. As a result, D. R. Horton, Inc. is not
now, and was not at the time of the institution of the State Court Action, a
resident of the State of New Mexico. First Amended Comp/aint, ll 2.

8. Rabadi admits that D. R. Horton, Inc. is not a resident of New
Mexico. First Amended Comp/aint, ‘|l 2.

9. As between Rabadi and D. R. Horton, Inc., there exists a

complete diversity of citizenship.

THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED

10. In addition to establishing diversity of citizenship amongst the

parties, the removing party must also establish that “the matter in

 

Case 1:17-cv-01112-.]CH-KBl\/l Document 1 Filed 11/08/17 Page 3 of 10

controversy exceeds the sum or value of $75,000.00, exclusive of interest
and costs..." See 28 U.S.C. 1332(a)(1).

11. Rabadi admits in its First Amended Complaint that it is seeking
compensatory damages against D. R. Horton, Inc. of at least $240,000.00
pursuant to Count One of its Amended Complaint. First Amended Complaint,
1l 16.

12. In addition, Rabadi is seeking a compensatory damages for loss
of market value of at least $96,000.00 pursuant to Count Four of its
Amended Complaint. First Amended Complaint, 1l 21.

13. Based on all of the above, it is clear that the amount in

controversy requirement of $75,000.00 has been met.

TIMING OF REMOVAL NOTICE

14. Rabadi’s original complaint and Amended Complaint were both
filed in 0ctober, 2017.

16. This Notice of Removal has been filed within thirty days of the
filing of either the original complaint or Amended Complaint in accordance
with 28 U.S.C. § 1446(b)(1).

ALL PROCEDURAL REQUIREMENTS FOR REMOVAL
HAVE BEEN SATISFIED

17. Pursuant to 28 U.S.C. § 1446(a) and Loca| Rule 81.1, a true and
correct copy of all of the process, pleadings, orders and documents from the
State Court Action which have been served upon D. R. Horton, Inc. are being
filed with this Notice of Removal. D. R. Horton, Inc. will file true and legible
copies of all other documents in the file in the State Court Action within 28

days of the filing of this Notice of Removal.

 

 

Case 1:17-cv-01112-.]CH-KBl\/l Document 1 Filed 11/08/17 Page 4 of 10

18. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1441(a)
and 1446(a) because the U.S. District Court for the District of New Mexico is
the federal judicial district embracing the State of New Mexico, Second

Judicial District Court where the State Court Action was originally filed.

CONCLUSION

By this Notice of Removal, D. R. Horton, Inc. do not waive any
objection they may have to service, jurisdiction or venue or any other

defenses or objections they may have to this action.

Respectfully submitted,

Calvert Menicucci, P.C.

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Sean R. Calvert

Counsel for D. R. Horton, Inc.
8900 Washington St., NE, Suite A
Albuquerque, New Mexico 87113
scalvert@hardhatlaw.net

(505) 247-9100

I hereby certify that a true copy of
the foregoing pleading was mailed
on November 8 2017, to:

Sharif A. Rabadi

Samia Rabadi

11201 San Antonio Drive NE
Albuquerque, New Mexico 87122

ALL/y

Sean R. Calv(e/rt

 

Case 1:17-cv-01112-.]CH-KBl\/l Document 1 Filed 11/08/17 Page 5 of 10

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No: CV 2017-07198 '\[
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Sharif A. and Samia Rabadi,

Plaintiffs,
_vS_
D R Horton, lnc.,
a De|aware Corporation,

Defendant.

FlRST AMENDED
COMPLA|NT FOR BREACH OF CONTRACT

COME NOW, the Plaintiffs, pro se, and for their cause of action against the Defendant, state:
GENERAL ALLEGATiONS

1. Plaintiffs are residents of Bernalillo County, State of New Mexico, and at all time material to
the issues in this lawsuit, all transactions described herein took place in the Country of
Bernalil|o, State of New Mexico.

2. Defendant, D R Horton, lnc. is a De|aware Corporation transacting business in the State of New
Mexico as a home builder.

3. The P|aintiffs are/were the owners and developers of a certain approved subdivision, namely
Paradlse View on Albuquerque's Westside consisting building lots that are/were platted and
approved for construction of homes many of which have previously been constructed and sold
by third parties.

4. On or about April 2017 the P|aintiffs and Defendant began negotiations for the purchase and
saie of some forty (40) building lots remaining in the said subnivium which were being offered

for sale by the P|aintiffs at $60,000.00 per lot.

 

 

 

 

Case 1:17-cv-01112-.]CH-KBl\/l Document 1 Filed 11/08/17 Page 6 of 10

5. The parties initially agreed that the Defendant would purchase the said 40 lots at a reduced

price of $50,000.00 per lot and prepared an agreement to accomplish that.

6. Thereafter, the Defendant advised that they wanted only bigger lots since their development

plan would not work on the smaller lots and reduced the amount of their purchase to a total of

24 lots at the agreed reduced price.

7. plaintiffs ultimately agreed to this sale with the understanding that the Defendant would also

purchase certain impact fee credits owned by the Plaintiffs in the approximate amount of

$71,000.00 at a sale price of 75% of value

8. Defendant initially agreed to purchase some $50,000.00 worth of these impact fee credits and

prepared an agreement to accomplish this and submitted the same to the Plaintiff.

9. Pialntiffs were not satisfied with the agreement prepared by the Plaintiffs and submitted their

version that dealt with the said 571,000.00 at the said sale price.

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later called the Plaintiffs and told them that it “was a done deal."'

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The Defendant advised the Plalntiff that the local president would have approve this deal and

The Plaintif‘is had signed the real estate purchase agreement and submitted the agreed upon

contract for the assignment of the impact fee credits to the title company for Defendant's

signature and requested that the impact fee deal be closed at the time of the closing of the real

estate purchase.

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The Defendant thereupon claimed that the corporate president, in Delaware, had to approve

the deal which the local agent did not know, and when the Plaintiff stated they would not close

if the impact fee agreement was not signed and closed at the same.

 

13. The Defendant thereupon threatened to file suit for specific performance on the signed

purchase agreement

Case 1:17-cv-01112-.]CH-KBl\/l Document 1 Filed 11/08/17 Page 7 of 10

14. The plaintiff closed on the reai estate purchase agreement with the understanding the impact
fee agreement would be closed later.
15. discuss the impact fee agreement or close on them.

COUN¥ DNE
PROM|SSORY ESTOPPEL

Plaintiffs reallege and incorporate their general allegations contained in paragraphs 1 through
15 as though fully set forth herein.

16. if the Plaintiffs had known that the Defendant was not going to purchase the impact fee credits,
they would not have sold the biggest lots, allowing the Defendant to basically “cherry pick” the
remaining lots in the subdivision and relied on the promise of the Defendant alito their damage
in the amount of $10,000.00 per lot for the 24 lots the Defendant was able to purchase at the
discounted rate.

WHEREFORE, P|aintiffs pray judgment against the Defendant for all amounts of damages as
proved at the trial and such other or further relief as appears just and proper in the premises
together with their costs of suit

COUNT TWO
UNFA|R BUS|NESS PRACT|VE

Plaintiffs reallege and incorporate their general allegations contained in paragraphs 1 through

15 as though full set forth herein.

17. Because of the Defendant's fraudulent, deceptive, unfair and other wrongful conduct as
herein alleged, said defendant has violated New Mexico unfair business practices laws, which
such activities were accomplished and designed to deceive and deprive the Plaintiffs of the

benefit of their bargain.

 

 

Case 1:17-cv-01112-.]CH-KBl\/l Document 1 Filed 11/08/17 Page 8 of 10

18. Because of the foregoing, Plaintiffs have suffered and continues to suffer damages in a sum
which shall be determined at the trial of this matter and the plaintiffs will seek leave of the
court to insert the true amount as proved as same are ascertained and proved.

WHEREFORE, plaintiffs pray judgment against the Defendant for all amounts of damages as
proved at the trial and such other or further relief as appears just and proper in the premises

together with their costs of suit

COUNT THREE
BREACH OF IMPLED COVENANT OF GOOD FAlTH AND FA|R DEAL|NG
plaintiffs reallege and incorporates their general allegations contained in paragraph 1 through

15 as though fully set forth herein.

19. New Mexico Law implies a covenant of good faith and fair dealing in all contracts between
parties entered in the State of New Mexico.

20. Because of the actions of the Defendants set forth above, said defendant has violated the
implied covenant of good faith and fair dealing with the Plaintiffs to the contract for impact fee
purchase by the Defendant.

WHEREFORE, Plaintiffs pray judgment against the Defendant for all amounts of
damages as proved at the trial and such other or further relief as appears just and proper in the
premises together with their costs of suit.

COUNT FOUR
LOSS OF MARKET VAl.UE

Plaintiffs reallege and incorporates their general allegations contained in paragraphs 1
through 15 as though fully set forth herein.

21. Prior to the time the Defendant reduced the amount of the number of lots to be purchased from

40 to 24, the Plaintiff advised the other builders in the subdivision who had options for first

refusal on the balance of the lots in the subdivision, that they were all sold, the builders sold

 

 

 

Case 1:17-cv-01112-.]CH-KBl\/l Document 1 Filed 11/08/17 Page 9 of 10

their models and moved out of the subdivision forcing the Plaintiffs, to close on the 24 larger
lots and to find other buyers for the balance of the unsold lots which, although the lots were
selling for $60,000 per lot, prior to the agreement with the Defendant. the fact that a deal had
been struck with the Defendant for a reduced price, the plaintiffs were forced to sell the balance
of the lots for $54,000.00 per lot all to their damage in the amount of $96,000.00.

WHEREFORE, Plaintiffs pray judgment against the Defendant for all amounts of damages as

proved at the trial and such other or further relief as appears just and proper in the premises

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together with their costs of suit.

 

 

Case 1:17.-cv-01112-.]CH-KBl\/l Document 1 Filed 11/08/17 Page 10 of 10

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Sharif A. and Samia Rabadi,

Plaintiffs,

_vs~

D -R Horton, lnc.,
a Delaware §orporation,
y Defendant.

CERT|'F|CATE OF NON-ARB|TRAT|ON

COMES NOW the Plaintiffs, and hereby certify that this case is not subject to arbitration as the

Plaintiffs are seeking damages in excess of Twenty five thousand dollars ($25, 000 00) in d::Z

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